Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 1 of 26 PageID #: 5




                  EXHIBIT A
      Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 2 of 26 PageID #: 6
             This is not the official court record. Official records of court proceedings may only be obtained directly from
             the court maintaining a particular record.



National Police Association, Inc. v. Peter Hoell, The Village of Germantown
 Case Number                          49D14-2009-PL-030208

 Court                                Marion Superior Court, Civil Division 14


Type                                  PL - Civil Plenary

 Filed                                09/01/2020

Status                                09/01/2020 , Pending (active)



Parties to the Case
Defendant     Hoell, Peter

   Address
   W157 N9790 Glenwod Rd
   Germantown, Wl 53022

   Attorney
   Kyle AJones
   #1427449, Retained

   101 West Ohio Street
   Ninth Floor
   Indianapolis, IN 46204
   317-269-9330(W)


Defendant The Village of Germantown

   Attorney
   Kyle AJones
   #1427449, Retained

   101 West Ohio Street
   Ninth Floor
   Indianapolis, IN 46204
   317-269-9330(W)


Plaintiff     National Police Association, Inc.

   Attorney
   Derek Robert Peterson
   #3107849, Retained

   1 56 Stony Creek Overlook
   Noblesville, IN 46060
   781 -492-3701 (W)




Chronological Case Summary
09/01/2020    Case Opened as a New Filing
       Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 3 of 26 PageID #: 7
 09/01/2020       Subpoena/Summons Filed
              Summons - Peter Hoell

              Filed By:                       National Police Association, Inc.

              File Stamp:                     09/01/2020


 09/01/2020       Subpoena/Summons Filed
              Summons - Village of Germantown

              Filed By:                       National Police Association, Inc.

              File Stamp:                     09/01/2020


 09/01/2020       Appearance Filed
              Appearance - National Police Association, Inc.

              For Party:                      National Police Association, Inc.

              File Stamp:                     09/01/2020


 09/01/2020       Complaint/Equivalent Pleading Filed
              Complaint & Demand forjury Trial

              Filed By:                       National Police Association, Inc.

              File Stamp:                    09/01/2020


 09/22/2020       Certificate of Issuance of Summons
              Certificate of Issuance of Summons & Notice of Perfected Service

              Filed By:                       National Police Association, Inc.

              File Stamp:                    09/22/2020


 09/25/2020       Appearance Filed
              Appearance of Jones for Defendants

              For Party:                     Hoell, Peter

              For Party:                     The Village of Germantown

              File Stamp:                    09/25/2020


 09/25/2020       Notice Filed
              Defendants' Notice of Automatic Enlargement of Time to Respond to Plaintiffs Complaint

              Filed By:                      Hoell, Peter

              Filed By:                      The Village of Germantown

              File Stamp:                    09/25/2020



Financial Information
* Financial Balances reflected are current representations of transactions processed by the Clerk's Office. Please note that any

  balance due does not reflect interest that has accrued - if applicable - since the last payment. For questions/concerns regarding

  balances shown, please contact the Clerk's Office.


National Police Association, Inc.
Plaintiff

Balance Due (as of 1 0/02/2020)
0.00


Charge Summary
Description                                                                Amount             Credit              Payment

Court Costs and Filing Fees                                                157.00             0.00                157.00


Transaction Summary
       Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 4 of 26 PageID #: 8
Date                 Description                                           Amount

09/01/2020           Transaction Assessment                                157.00

09/01/2020           Electronic Payment                                    (157.00)




             This is not the official court record. Official records of court proceedings may only be obtained directly from
             the court maintaining a particular record.
Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 5 of 26 PageID #: 9
                                          49D14-2009-PL-030208                                                        Filed: 9/1/2020 2:54 PM
                                                                                                                                       Clerk
                                       Marion Superior Court, Civil Division 14                                       Marion County, Indiana




   STATE OF INDIANA               )         IN THE MARION COUNTY SUPERIOR COURT
                                  ) SS:
   COUNTY OF MARION               )         CAUSE NO.:


  NATIONAL POLICE ASSOCIATION, INC.,                           )
                          Plaintiff,                           )
                                                               )
                 vs.                                           )
                                                               )
  THE VILLAGE OF GERMANTOWN, a foreign                         )
  municipal corporation; and PETER HOELL,                      )
  individually and in his capacity as agent of THE             )
  VILLAGE OF GERMANTOWN                                        )
                          Defendants.                          )

                                                 SUMMONS


  TO DEFENDANT:                   Mr. Peter Hoell
                                  W157 N9790 Glenwod Rd.
                                  Germantown, WI 53022-5139


           You are hereby notified that you have been sued by the persons named as
  plaintiffs and in the Court indicated above.                  The nature of this suit against you is
  stated in the complaint which is attached to this Summons.                                         It also states the
  demand which the plaintiffs have made against you.

           An answer or other appropriate response in writing to the complaint must be
  filed either by you or your attorney within twenty (20) days, commencing the day
  after you receive this Summons, (or twenty-three (23) days if this Summons was
  received by mail), or a judgment by default may be rendered against you for the
  relief demanded by plaintiff in its complaint.

           If you have a claim for relief against the plaintiff arising from the same
  transaction or occurrence, you must assert it in your written answer.

               9/1/2020
                                                          /             df        L CcL\i            cJ
  Dated:                                                       1                                c)
                                                     Clerk, Marion County Courts


  The following manner of service of Summons is hereby designated:


           X     Service via Certified Mail, Return Receipt Requested
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                                                                                            ^WA/plANN,
Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 6 of 26 PageID #: 10




   SUMMONS PREPARED BY:



                                     Derek R. Peterson, Atty. No.: 31078-49
                                     Derek R. Peterson - Attorney at Law
                                     156 Stony Creek Overlook
                                     Noblesville, Indiana 46060
                                     T: 781.492.3701
                                     E: DRPetersonlaw@gmail.com
                                     Counselfor Plaintiff




                                       2
Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 7 of 26 PageID #: 11
                                         49D14-2009-PL-030208                                                      Filed: 9/1/2020 2:54 PM
                                                                                                                                    Clerk
                                      Marion Superior Court, Civil Division 14                                     Marion County, Indiana




   STATE OF INDIANA              )         IN THE MARION COUNTY SUPERIOR COURT
                                 ) SS:
   COUNTY OF MARION              )         CAUSE NO.:


   NATIONAL POLICE ASSOCIATION, INC.,                         )
                         Plaintiff,                           )
                                                              )
                  vs.                                         )
                                                              )
   THE VILLAGE OF GERMANTOWN, a foreign                       )
   municipal corporation; and PETER HOELL,                    )
   individually and in his capacity as agent of THE           )
   VILLAGE OF GERMANTOWN                                      )
                         Defendants.                          )

                                                SUMMONS


   TO DEFENDANT:                 Village of Germantown, Wisconsin
                                 c/o Village Administrator or Authorized Person(s)
                                 N112 W17001 Mequon Road
                                 Germantown, WI 53022


            You are hereby notified that you have been sued by the persons named as
   plaintiffs and in the Court indicated above.                The nature of this suit against you is
   stated in the complaint which is attached to this Summons.                                        It also states the
   demand which the plaintiffs have made against you.

            An answer or other appropriate response in writing to the complaint must be
   filed either by you or your attorney within twenty (20) days, commencing the day
   after you receive this Summons, (or twenty-three (23) days if this Summons was
   received by mail), or a judgment by default may be rendered against you for the
   relief demanded by plaintiff in its complaint.

            If you have a claim for relief against the plaintiff arising from the same
   transaction or occurrence, you must assert it in your written answer.

             9/1/2020
                                                      (~/            (. L        {-i fti i
   Dated:                                                                                        s
                                                    Clerk, Marion County Courts


   The following manner of service of Summons is hereby desi


            X     Service via Certified Mail, Return Receipt Requested
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Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 8 of 26 PageID #: 12




   SUMMONS PREPARED BY:



                                     Derek R. Peterson, Atty. No.: 3 1078-49
                                     Derek R. Peterson - Attorney at Law
                                     156 Stony Creek Overlook
                                     Noblesville, Indiana 46060
                                     T: 781.492.3701
                                     E: DRPetersonlaw@amail.com
                                     Counselfor Plaintiff




                                       2
Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 9 of 26 PageID #: 13
                                           49D1 4-2009-PL-030208                                     Filed: 9/1/2020 2:54 PM
                                                                                                                      Clerk
                                        Marion Superior Court, Civil Division 14                     Marion County, Indiana




   STATE OF INDIANA                )         IN THE MARION COUNTY SUPERIOR COURT
                                   ) SS:
   COUNTY OF MARION                )         CAUSE NO.:


   NATIONAL POLICE ASSOCIATION, INC.,                           )
                           Plaintiff,                           )
                                                                )
                   vs.                                          )
                                                                )
   THE VILLAGE OF GERMANTOWN, a foreign                         )
   municipal corporation; and PETER HOELL,                      )
   individually and in his capacity as agent of THE             )
   VILLAGE OF GERMANTOWN                                        )
                           Defendants.                          )

                                        APPEARANCE OF COUNSEL


      1.   The party on whose behalf this form is being filed is: Initiating       X ; and the undersigned
           attorney identified on this form hereby enters his appearance in this case on behalf of the
           above-identified PLAINTIFF, NATIONAL POLICE ASSOCIATION, INC.


      2.   Attorney information for service as required by Trial Rule 5(B)(2):

           Derek R. Peterson,
           Atty. No.: 31078-49
           Derek R. Peterson - Attorney at Law
           156 Stony Creek Overlook
           Noblesville, Indiana 46060
           T: 781.492.3701
           E: DRPetersonlaw@gmail.com


      3.   This is a PL case type as defined in administrative Rule 8(B)(3).


      4.   Attorney for Plaintiffs WILL NOT accept service by fax.


      5.   Attorney for Plaintiffs WILL accept service by Indiana Electronic Filing Service (IEFS)
           and Electronic Mail (E-mail).


      6.   This case DOES NOT involve child support issues.


      7.   This case DOES NOT involve a protection from abuse order, a workplace violence
           restraining order, or a no - contact order.


      8.   This case DOES NOT involve a petition for involuntary commitment.


      9.   There are NO related cases. However, this is matter is being pursued in part as judicial
           review of an administrative agency action taken against Petitioner.
Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 10 of 26 PageID #: 14




       10. Additional information specified by state or local rule required to maintain the information
          management system employed by the court: N/A



                                                                Respectfully Submitted,




                                                                Derek R. Peterson
                                                                Atty. No.: 31078-49
                                                                156 Stony Creek Overlook,
                                                                Noblesville, Indiana 46060
                                                                Tel: 781.492.3701
                                                                Email: DRPetersonlaw@gmail.com
                                                                Counsel for Plaintiff
Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 11 of 26 PageID #: 15
                                          49D1 4-2009-PL-030208                                 Filed: 9/1/2020 2:54 PM
                                                                                                                 Clerk
                                       Marion Superior Court, Civil Division 14                Marion County, Indiana




    STATE OF INDIANA              )         IN THE MARION COUNTY SUPERIOR COURT
                                  ) SS:
    COUNTY OF MARION              )         CAUSE NO.:


   NATIONAL POLICE ASSOCIATION, INC.,                          )
                          Plaintiff,                           )
                                                               )
                  vs.                                          )
                                                               )
    THE VILLAGE OF GERMANTOWN, a foreign                       )
   municipal corporation; and PETER HOELL,                     )
    individually and in his capacity as agent of THE           )
   VILLAGE OF GERMANTOWN                                       )
                          Defendants.                          )

                                               COMPLAINT &
                                       DEMAND FOR JURY TRIAL


           COMES NOW, the National Police Association, Inc., herein ("Plaintiff'), by counsel,


   Derek R. Peterson, and respectfully submits Plaintiffs "Complaint & Demand for Jury Trial"


    ("Complaint"), to this Court and against the Village of Germantown and Peter Hoell, jointly and


   severally, and hereby alleges the following facts and claims:


                                                THE PARTIES


           1.     Plaintiff is an Indiana non-profit 501(c)(3) educational organization headquartered


   at 8710 Bash Street #501692, Indianapolis, Indiana 46250, which is located within Marion County,


   Indiana.


           2.     Defendant, the Village of Germantown, herein ("Defendant Germantown"), is a


   foreign municipal corporation, with a principal address of N112 W17001 Mequon Road


   Gennantown, Wisconsin 53022, which is located within Washington County, Wisconsin.


           3.     Washington County, Wisconsin is adjacent to Milwaukee County, Wisconsin.


           4.     Both Washington County and Milwaukee County are a part of the Milwaukee


   Metropolitan area.




                                                          1
Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 12 of 26 PageID #: 16




            5.        Defendant, Peter Hoell, herein ("Defendant Hoell"), is a resident of Defendant


    Germantown, with a principal address of W157 N9790 Glenwood Rd, Germantown, WI, 53022-


    5139.


            6.        Between January 1, 201 8 through December 20, 2019, Defendant Hoell served as


    Chief of Police for Defendant Germantown.


                                   FACTS GIVING RISE TO COMPLAINT


            7.        At all times relevant, Plaintiff operated as a 501(c)(3) non-profit educational


   organization, whose mission was to educate supporters of law enforcement in how to help police


   departments across the country accomplish their goals of effective law enforcement, through clear


   communications designed to combat the influence of anti-police activists and promote policies


   which encourage public officials to work together with police in the public interest.


            8.        At all times relevant, Plaintiff was registered with the Wisconsin Secretary of State,


   authorizing Plaintiff to engage in business and activities related to Plaintiffs 501(c)(3) status and


   mission statement.


            9.        In the first three (3) months of 2018, Plaintiff via U.S. Mail sent "The National


   Sanctuary Area Crime Impact Survey," herein ("NPA Survey"), to various parts of the country


   that were relevant to the NPA Survey, including to residents located in Defendant Germantown.


            10.       In or about March 201 9, Defendant Hoell participated in an interview with the Indy


   Star, wherein Defendant Hoell was quoted with having stated the following:


            Hoell told residents to disregard the letter. He also reported the National Police
            Association to the U.S. Postal Inspection Service over what he considered to be
            fraudulent mail.
                                                       ***


            It's a scam," Hoel (sic) said. "It's no different than any other scam — just a different
            angle."




                                                        2
Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 13 of 26 PageID #: 17




           11.     On March     17, 2019,   Defendant Hoell's statements regarding Plaintiff were


   published to the public.


           12.     On or about March 17, 2019, Plaintiffs learned of Defendant Hoell's and/or


   Defendant Germantown's prior defamatory statements published on the social media platform


   Facebook, herein ("May 3 1 , 20 1 8 Facebook Post"). A true and accurate copy of the May 3 1 , 20 1 8


   Facebook Post is attached hereto and incorporated herein as Exhibit 1.


           13.    Upon information and belief, the May 31, 2018 Facebook Post was published to


   the public on or about May 31, 2018, where it has remained through the date of filing this


   Complaint.


           14.    On or about October 23, 2019, Defendant Hoell and/or Defendant Germantown


   published another Facebook Post, herein ("October 23, 201 9 Facebook Post"). A true and accurate


   copy of the October 23, 2019 Facebook Post is attached hereto and incorporated herein as Exhibit


   2.


           15.    Upon information and belief, the October 23, 2019 Facebook Post was published


   to the public on or about October 23, 2019, where it has remained through the date of filing this


   Complaint.


           16.    At all times relevant, Defendant Germantown, through other elected officers,


   boards and/or commissions, was responsible for the oversight and supervision of Defendant Hoell.


           17.    Each of the defamatory statements and matters published or spoken by Defendant


   Hoell were in regard to Plaintiff.


           18.    As a result of the actions undertaken by Defendant Germantown and Defendant


   Hoell, Plaintiff has suffered harm, injuries and damages.




                                                    3
Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 14 of 26 PageID #: 18




             19.    The statements made by Defendant Hoell were false and/or misleading.           More


    specifically, thrice labeling Plaintiff as a "scam;" twice claiming to have reported Plaintiff to the


   U.S. Postal Inspector for fraud; claiming that the NPA Survey "states that Germantown is a


   Federally Designated Sanctuary City;" claiming that the NPA Survey contains and/or is "false


   information;" claiming to have received a "call from a Police Association, possibly the [Plaintiff]


   to my home;" further publishing a defamatory article concerning Plaintiff; claiming that the "[NPA


    Survey] falsely warned that Germantown is a sanctuary city, not cooperating with federal


   immigration enforcement; and instructing third-parties to "disregard the letter" on account of false


   information were all false statements, claims and otherwise defamatory statements made against


   Plaintiff.


                                                  CLAIMS
                                             Defamation Per Se


             20.    Paragraphs One (|1) through Nineteen fl]19) are incorporated by reference herein


   and should be treated as if restated in their entirety.


             21.    Defendant Hoell 's statements as contained in this Complaint and Exhibits 1-2


   constitute defamation per se in that the defamatory statements impute criminal conduct on the part


   of Plaintiff and/or impute misconduct by Plaintiff in Plaintiffs trade, profession, office, or


   occupation.


             22.    Defendant Hoell 's statements were made with either negligence and/or actual


   malice.


             23 .   Defendant Hoell's statements were published to the public.


                                           Defamation Per Quod


             24.    Paragraphs One fl[l) through Nineteen (^[1 9) are incorporated by reference herein


   and should be treated as if restated in their entirety.



                                                      4
Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 15 of 26 PageID #: 19




           25.     Additionally, Paragraphs Twenty-One flf21) through Twenty-Three (1(23) are


    incorporated by reference herein and should be treated as if restated in their entirety.


           26.     As a result of Defendant Hoell's conduct, Plaintiff has suffered damages from loss


    of donations and other business benefits, harm to the business reputation of Plaintiff and injuries


   to the character and business of Plaintiff.


                                              42 U.S.C. $ 1985


           27.     Paragraphs One flfl) through Nineteen (^19) are incorporated by reference herein


   and should be treated as if restated in their entirety.


           28.     Defendant Hoell in concert, connection and/or under the supervision and tacit


   approval of Defendant Germantown, engaged in a conspiracy with Defendant Germantown for the


   purpose of depriving, either directly or indirectly, Plaintiff of the equal protection of the laws


   and/or of the equal privileges and immunities under the laws.             Specifically, constitutional


   protections to be free from harmful and/or defamatory speech, while Plaintiff engages in its own


   constitutionally protected and statutorily authorized activities.


           29.     Defendant Hoell      and   Defendant Germantown       acted   in furtherance   of this


   conspiracy when Defendant Hoell published the defamatory statements, while Defendant


   Germantown remained silent and/or approved of the defamatory statements once becoming aware


   of such defamatory statements being made by Defendant Hoell.


           30.     Defendant Hoell and Defendant Germantown have caused injury to Plaintiff,


   Plaintiffs property, and/or a deprivation of Plaintiffs right or privilege to engage in its


   constitutionally and statutorily protected activities.




                                                      5
Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 16 of 26 PageID #: 20




                                           Demand for Jury Trial


           31.     Plaintiff, pursuant to Ind. R. Tr. P., Rule 38, demands that this matter be tried by


   jury.



           WHEREFORE, Plaintiff, the National Police Association, Inc., respectfully prays of this


    Court to issue the following relief:


            1.     Liability of Defendant Hoell and/or Defendant Germantown, jointly and/or


           severally;


           2.      Damages in the form of compensatory, presumed, actual, punitive, exemplary,


           treble and/or special in an amount to be determined by a jury, which will appropriately and


           fairly compensate Plaintiff for the damages, injuries and harms suffered as a result of


           Defendant Hoell 's and Defendant Germantown' s conduct;


           3.      An award of interests, costs, fees, including reasonable attorney fees, incurred as a


           result of Defendant Hoell's and Defendant Germantown's conduct;


           4.      An order enjoining Defendant Hoell and Defendant Germantown from making


           further false,   defamatory and/or    disparaging statements,      from conspiring to   cause


           additional harm and/or damage and/or engaging in any acts of retaliation against Plaintiffs;


           and


           5.      For all other just and proper relief under the premises.


                                                                 Respectfully Submitted,



                                                                 Derek R. Peterson
                                                                 Atty. No.: 31078-49
                                                                 Derek R. Peterson - Attorney at Law
                                                                  156 Stony Creek Overlook
                                                                 Noblesville, Indiana 46060
                                                                 T: 781.492.3701
                                                                 E: DRPetersonlaw@gmail.com



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 Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 17 of 26 PageID #: 21
        Germ an town P^^^jp£^208tn                                      Filed: 9/1/2020 2:54 PM
                                                                                         Clerk
        May 31, 2018   tjjj
                              arion Superior Court, Civil Division 14   Marion County, Indiana

Scam Alert,

                                                                           RV:


be from the "National Police Association." The material states that
Germantown is a Federally Designated Sanctuary City. This is false
information. They are also asking for donations to the National Police
Association to go along with the returned survey. The material is claiming to
be from Topeka, Kansas and the return envelope is going to a PC Box in
Stuarts Draft. Virginia.




                                                                 M

Ot • 48                                                            12 Comments 94 Shares



                                                  Share


Most Relevant
    Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 18 of 26 PageID #: 22



                                                                     Filed: 9/1/2020 2:54 PM
         Germantown P o49f}:3
                                                                                        Clerk
         October 23, 2019Midon Superior Court, Civil Division 14    Marion County, Indiana


 A call from a Police Association, possibly the National to my home.

 Yesterday, Tuesday, October 22. my wife took a call at our home from
 someone claiming to be with a Police Association, possibly National. The


 They stated: " Give our law enforcement officers the crime prevention tools
 they need." My wife did not complete the call and hung up on them. What I
 can tell you is that the Germantown Police Department has never had a
 relationship with the National Police Association, nor have we received any
 financial support from them.



 the end of the article I was quoted with the following: Fundraising letters in
 Germantown, Wi.; falsely warned that Germantown is a sanctuary city, not
 cooperating with federal immigration enforcement. Germantown Police Chief


 to the U.S. Postal Inspection Service over what he considered to be
 fraudulent mail. It's a scam," Hoell said.
 https://thecrimereport.org/ . Vchiefs-caH-national-police-a.../


Up For The Crime R
                             THECRIMEREPORT.ORG
         t
                             Scam | The Crime Report

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                             history." The income does riot go to police. ..
ee Weekly Newsletfr

 OSV 40                                                      15 Comments 22 Shares
Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 19 of 26 PageID #: 23
                                                                                               Filed: 9/22/2020 12:23 PM
                                                                                                                  Clerk
                                                                                                 Marion County, Indiana




    STATE OF INDIANA               )       IN THE MARION COUNTY SUPERIOR COURT
                                   )SS:
    COUNTY OF MARION               )       CAUSE NO.: 49D14-2009-PL-030208


    NATIONAL POLICE ASSOCIATION, INC.,                  )
                           Plaintiff,                   )
                                                        )
                    vs.                                 )
                                                        )
    THE VILLAGE OF GERMANTOWN, a foreign                )
    municipal corporation; and PETER HOELL,             )
    individually and in his capacity as agent of THE    )
    VILLAGE OF GERMANTOWN                               )
                           Defendants.                  )

                          CERTIFICATE OF ISSUANCE OF SUMMONS &
                                 NOTICE OF PERFECTED SERVICE


             COMES NOW, Plaintiff, National Police Association, Inc., by counsel, Derek R. Peterson,


    who hereby certifies and affirms that pursuant to Indiana Rules of Trial Procedure, Rule 86(G)(2),


    service was attempted and completed on Defendants The Village of Germantown and Peter Hoell,


   by providing a copy of the following:



        1.   Summons
       2.    Appearance
       3.    Complaint
       4.    Exhibits


   to Defendants at the following respective addresses via Certified U.S. Mail with Return Receipt


   Requested as follows:


   Village of Germantown, Wisconsin
   c/o Village Administrator or Authorized Person(s)
   N112 W17001 Mequon Road
   Germantown, WI 53022
   Date Mailed: September 2, 2020
   Tracking No.: 7018 2290 0001 1037 4896
   Return Receipt: September 4, 2020
   See Exhibit 1




                                                    1
Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 20 of 26 PageID #: 24




   Mr. Peter Hoell
    W157 N9790 Glenwod Rd.
    Germantown, WI 53022-5139
   Date Mailed: September 2, 2020
   Tracking No.: 7018 2290 0001 1037 2571
   Return Receipt: September 4, 2020
    See Exhibit 1
                                                 Respectfully Submitted,




                                                 Derek R. Peterson
                                                 Atty. No.: 31078-49
                                                 Derek R. Peterson - Attorney at Law
                                                 156 Stony Creek Overlook
                                                 Noblesville, Indiana 46060
                                                 T: 781.492.3701
                                                 E: DRPetersonlaw@gmail.com
                                                 Attorney for Plaintiff,




                                            2
                    L   Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 21
                                           "v.                          '.I         1 of 26 PageID #: 25
                        SENDER: COMPLETE THIS SECTION                                    COMPLETE THIS SECTION ON DELIVERY                                                                  U.S. Postal Service™                                   Filed: 9/22/2020 12:23
EXHIBIT
                                                                                                                                /
                                                                                                                                                                                            CERTIFIED MAIL® RECEI                                                         Clerk

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                            Complete Items 1, 2, and 3.                                  A. Signature                                                                     '
   i                                                                                                                                                                      I
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                            Print your name and address on the reverse
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                           or on the front if space permits.                             jmiea i V- ct
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Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 22 of 26 PageID #: 26
                                                                                                   Filed: 9/25/2020 1:24 PM
                                                                                                                      Clerk
                                                                                                   Marion County, Indiana




   STATE OF INDIANA               )        IN THE MARION COUNTY SUPERIOR COURT
                                  ) SS:
   COUNTY OF MARION               )        CAUSE NO. 49D 14-2009-PL-030208



   NATIONAL POLICE ASSOCIATION, INC., )

                                                   )
                   Plaintiff,                      )
                                                   )
          v.                                       )
                                                   )
   THE VILLAGE OF GERMANTOWN,                      )
   a foreign municipal corporation; and            )
   PETER HOELL, individually and in his            )
   capacity as agent of THE VILLAGE OF             )
   GERMANTOWN,                                     )
                                                   )
                   Defendants.                     )

                   E-FILING APPEARANCE BY ATTORNEY IN CIVIL CASE


    1.    The party on whose behalf this form is being filed is:
          Initiating                       Responding    V             Intervening         ; and

          the undersigned attorney and all attorneys listed on this form now appear in this case for
          the following parties: The Village of Germantown and Peter Hoell

   2.     Attorney information for service as required by Trial Rule 5(B)(2)

          Name:            Kyle A. Jones
          Atty Number: 14274-49
          Address:         NORRIS CHOPLIN SCHROEDER LLP
                           101 West Ohio Street, Ninth Floor
                           Indianapolis, IN 46204-4213
          Phone:           317/269-9330
          Fax:             317/269-9338
          Email:           kjones@ncs-law.com

   IMPORTANT: Each attorney specified on this appearance:
   (1)    certifies that the contact information listed for him/her on the Indiana Supreme Court Roll
   of Attorneys is current and accurate as of the date of this Appearance;
          0)       acknowledges that all orders, opinions, and notices from the court in this
   matter that are served under Trial Rule 86(G) will be sent to the attorney at the email
   address(es) specified by the attorney on the Roll of Attorneys regardless of the contact
   information listed above for the attorney; and
          (b)      understands that he/she is solely responsible for keeping his/her Roll of Attorneys
   contact information current and accurate, see Ind. Admis. Disc. R. 2(A).
Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 23 of 26 PageID #: 27




   Attorneys can review and update their Roll of Attorneys contact information on the Courts Portal
    at http://portal.courts.in.gov.

    3.      This is a PL type as defined in administrative Rule 8(B)(3).

   4.       This case involves child support issues. Yes          No   V

    5.      This case involves a protection from abuse order, a workplace violence restraining order,
            or a no - contact order. Yes       No    V
            This case involves a petition for involuntary commitment. Yes           No

    6.      If Yes above, provide the following regarding the individual subject to the petition for
            involuntary commitment: N/A

   7.       There are related cases: Yes      No      V       Ofyes, list on continuation page.)

    8.     Additional information required by local rule: N/A

   9.       There are other party members: Yes           No   V    Ofyes> list on continuation page.)

    10.     This form has been served electronically on all parties on the attached Certificate of
            Service: Yes


                                                   NORRIS CHOPLIN SCHROEDER LLP


                                                   /s/ Kyle A. Jones
                                                   Kyle A. Jones (#14274-49)
                                                   Counsel for the Defendants, The Village of
                                                   Germantown and Peter Hoell


   NORRIS CHOPLIN SCHROEDER LLP
    101 West Ohio Street, Ninth Floor
   Indianapolis, IN 46204-4213
   317-269-9330; Fax: 317-269-9338
   kjones@ncs-law.com



                                      CERTIFICATE OF SERVICE


           I hereby certify that a copy of the foregoing has been served electronically through


   GreenFiling on September 25, 2020, upon:


   Derek R. Peterson
   DEREK R. PETERSON-ATTORNEY AT LAW
   156 Stony Creek Overlook
   Noblesville, IN 46060
   DRPetersonlaw@gmail.com


                                                 /s/ Kyle A. Jones
                                                 Kyle A. Jones


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Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 24 of 26 PageID #: 28
                                                                                                 Filed: 9/25/2020 1:24 PM
                                                                                                                   Clerk
                                                                                                 Marion County, Indiana




    STATE OF INDIANA             )         IN THE MARION COUNTY SUPERIOR COURT
                                 ) SS:
    COUNTY OF MARION             )         CAUSE NO. 49D14-2009-PL-030208



   NATIONAL POLICE ASSOCIATION, INC., )

                                                   )
                  Plaintiff,                       )
                                                   )
           v.
                                                   )
                                                   )
    THE VILLAGE OF GERMANTOWN,                     )
    a foreign municipal corporation; and           )
   PETER HOELL, individually and in his            )
    capacity as agent of THE VILLAGE OF            )
    GERMANTOWN,                                    )
                                                   )
                  Defendants.                      )

                 DEFENDANTS' NOTICE OF AUTOMATIC ENLARGEMENT
                    OF TIME TO RESPOND TO PLAINTIFF'S COMPLAINT


           The Defendants, The Village of Germantown and Peter Hoell, by counsel, pursuant to


   Indiana Trial Rule 6(B)(1) and LR 49-TR5 Rule 203(D), respectfully moves the Court for an


   automatic enlargement of time of thirty (30) days from September 28, 2020 to and including


   October 28, 2020 to respond to Plaintiffs complaint, and in support thereof would show the


   Court as follows:


           1.     Plaintiffs complaint was filed on September 1, 2020.


           2.     Defendants' response to Plaintiffs complaint is due on or before Monday,


   September 28, 2020, and said time has not yet expired.


           3.     An enlargement of time of thirty (30) days to and including October 28, 2020, is


   reasonably necessary for the Defendants' attorney to confer with his clients and prepare an


   appropriate response to the Plaintiffs complaint.
Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 25 of 26 PageID #: 29




           4.      No prior enlargements of time have been requested and no party will be prejudiced


    by the granting of this Motion.


           5.      Pursuant to Local Rule 49 - TR5 Rule 203(D), an initial written motion for


    enlargement of time pursuant to Ind. Trial Rule 6(B)(1) to respond to the claim shall be


    automatically allowed for an additional thirty (30) days from the original due date without a written


    order of the Court.


           6.      With the filing of this enlargement, Defendants' response to Plaintiffs complaint


    shall be due on or before October 28, 2020.


           WHEREFORE, Defendants, The Village of Germantown and Peter Hoell, by counsel,


   respectfully state that their response to Plaintiffs complaint shall be due on or before October 28,


   2020.


                                                  NORRIS CHOPLIN SCHROEDER LLP


                                                  /s/ Kyle A. Jones
                                                  Kyle A. Jones (#14274-49)
                                                  Counsel for the Defendants, The Village of
                                                  Germantown and Peter Hoell


   NORRIS CHOPLIN SCHROEDER LLP
    101 West Ohio Street, Ninth Floor
   Indianapolis, IN 46204-4213
   317-269-9330; Fax: 317-269-9338
   kj ones@ncs-law. com




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Case 1:20-cv-02569-JMS-TAB Document 1-1 Filed 10/02/20 Page 26 of 26 PageID #: 30




                                    CERTIFICATE OF SERVICE


           I hereby certify that a copy of the foregoing has been served electronically through


    GreenFiling on September 25, 2020, upon:


   Derek R. Peterson
   DEREK R. PETERSON-ATTORNEY AT LAW
    156 Stony Creek Overlook
   Noblesville, IN 46060
   DRPetersonlaw@gmail.com


                                                /s/ Kyle A. Jones
                                                Kyle A. Jones




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